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SIGNED THIS 15th day of December, 2023


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA

In re:
MICHAEL GLENN INGALLS,                                         Chapter 13
       Debtor.                                                 Case No. 23-61292
                                        ORDER
        On November 20, 2023, Michael Glenn Ingalls, by counsel, filed a voluntary chapter 13

petition. See ECF Doc. No. 1. On the same day, Mr. Ingalls filed his chapter 13 plan. See ECF

Doc. No. 2.

        Local Rule 3015-1(A)(1) requires the filing of a chapter 13 plan and directs that “[t]he plan

shall be accompanied by proof of service.” Bankr. W.D. Va. R. 3015-1(A)(1). Further, Local

Rule 3015-1(B) requires that “[t]he debtor(s) shall distribute a copy of the plan to all creditors, the

standing trustee, and other interested parties and provide the Court with proof of service of the

same.” Bankr. W.D. Va. R. 3015-1(B). These requirements under the Local Rules supplement

Federal Rule of Bankruptcy Procedure 3015(d), which provides that “[i]f the plan is not included

with the notice of the hearing on confirmation mailed under Rule 2002, the debtor shall serve the

plan on the trustee and all creditors when it is filed with the court.” Fed. R. Bankr. P. 3015(d).

The debtor and debtor’s counsel thus failed to comply with these provisions of the Local Rules

and the Federal Rules of Bankruptcy Procedure.

        Because no certificate of service of the plan was filed, on November 29, 2023, the Court

issued a deficiency order to file a certificate of service. See ECF Doc. No. 8. The deficiency order
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provided fourteen days to cure the deficiency. The order further provided that failure to cure the

deficiency “may result in dismissal of the pleading, or sanctions being imposed, or such other

remedy as the Court deems appropriate, without further notice, hearing, or Order.” See id. More

than fourteen days have passed, and the debtor and debtor’s counsel have failed to cure the

deficiency and remain in noncompliance with the Local Rules and the Federal Rules of Bankruptcy

Procedure.

       Specifically, the debtor and debtor’s counsel have failed to abide by Local Rule 3015-1,

Federal Rule of Bankruptcy Procedure 3015(d), and the Court’s November 29, 2023 deficiency

order. What is more, it is unclear to the Court whether the plan was sent to parties in interest. The

confirmation hearing is currently scheduled for January 25, 2024, at 9:30 AM.

       Accordingly, notice is given, and it is hereby

                                            ORDERED

       that debtor’s counsel shall appear on January 25, 2024, at 9:30 AM and show cause (i)

why confirmation of the chapter 13 plan should not be denied and (ii) why no sanction should be

imposed on counsel for failure to comply with the Local Rules of this Court.

       The hearing shall be conducted, by video using Zoom software. Parties shall not appear

in person. The parties may access the hearing using the following URL: https://vawb-

uscourts-gov.zoomgov.com/j/1603692643. Alternatively, parties may log in to their Zoom

account and join the meeting using Meeting ID number 160 369 2643.

       Copies of this order are directed to be provided to the debtor, counsel for the debtor, the

chapter 13 trustee, and the Office of the United States Trustee.

                                           End of Order




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